






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00025-CR







Jessie Joe Rodriguez, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF RUNNELS COUNTY, 119TH JUDICIAL DISTRICT


NO. 5484, HONORABLE BEN WOODWARD, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



On October 13, 2005, appellant Jessie Joe Rodriguez, Jr., pleaded guilty to forgery
and was placed on a three-year term of deferred adjudication supervision.  See Tex. Penal Code Ann.
§ 32.21 (West Supp. 2008).  On October 1, 2008, a hearing was held on the State's motion to
adjudicate, and appellant pleaded true to two of the four violations alleged in the motion.  After
hearing evidence, the district court revoked supervision, adjudged appellant guilty, and assessed a
punishment of 540 days in state jail and a $500 fine.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  No pro
se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   July 9, 2009

Do Not Publish


